 Case 6:22-cv-00472-WWB-LHP Document 1 Filed 03/07/22 Page 1 of 6 PageID 1




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION
RALPH NACCA,

             Plaintiff,
                                                    Civil No.: _____________

vs.

FUTURE MOTION, INC.,

          Defendant.
________________________________/

                              NOTICE OF REMOVAL

      PLEASE TAKE NOTICE that Defendant, FUTURE MOTION, INC.

(“Defendant” or “Future Motion”), hereby files this Notice of Removal of the above-

referenced action from the Circuit Court in the Eighteenth Judicial Circuit in and for

Brevard County, Florida, in which it is now pending, to the United States District

Court, Middle District of Florida, Orlando Division, pursuant to 28 U.S.C. §§ 1332,

1441 and 1446.

      As grounds for removal, Defendant states as follows:

I.    Relevant Background

      1.     Plaintiff commenced this litigation by filing a Summons and Complaint

on August 27, 2021, in the Brevard County Clerk’s Office. A copy of Plaintiff’s

Summons and Complaint is attached hereto as Exhibit A, and was served on Future
 Case 6:22-cv-00472-WWB-LHP Document 1 Filed 03/07/22 Page 2 of 6 PageID 2




Motion, Inc. on December 16, 2021. According to Plaintiff’s Complaint, Plaintiff

Ralph Nacca alleges that Future Motion, Inc. was negligent in the designing,

manufacturing, and/or warnings related to the Onewheel.

      2.     Defendant timely answered Plaintiff’s Complaint on January 4, 2022,

attached hereto as Exhibit B.

II.   Papers from Removed Action.

      3.     Pursuant to 1.06(b) of the Local Rules for the Middle District of

Florida, annexed hereto as Exhibit C is a copy of each publically-available paper

docketed in the State Court, along with an Index of the State Court pleadings.

II.   The Removal is Timely.

      4.     Defendant was served with the Complaint on December 16, 2021. The

initial pleadings did not indicate the case was removable. Plaintiff’s counsel

stipulated to an amount in controversy in excess of $75,000 meeting the

jurisdictional requirements for removal to federal court on February 18, 2022 via

email, annexed hereto as Exhibit D. Accordingly, this notice of removal is being

filed within 30 days of the stipulation on the jurisdictional requirements for removal

to federal court, and therefore, is timely under 28 U.S.C. § 1446(b)(3).




                                          2
 Case 6:22-cv-00472-WWB-LHP Document 1 Filed 03/07/22 Page 3 of 6 PageID 3




III.   Venue and Jurisdiction Are Proper in This Court

       5.     Venue is proper in the United States District Court for the Middle

District of Florida as this is the District corresponding to and embracing the place

where the state-court action was pending.

       6.     This Court has original jurisdiction over this civil action pursuant to 28

U.S.C. 1332 because (i) it is between “[c]itizens of different States;” and (ii) the

“matter in controversy exceeds the sums or value of $75,000, exclusive of interests

and costs.”

IV.    Complete Diversity Exists

       7.     Plaintiff is a resident and citizen of the State of Florida. See Exhibit A

at ¶ 1, Exhibit D. Additionally, Plaintiff co-owns homestead real property in Merritt

Island, Florida, Brevard County and has incorporated two businesses for which, at

all material times, he was the managing member. He is a licensed contractor in the

State of Florida and, at all material times, has been registered to vote in the State of

Florida.

       8.     Future Motion is diverse to Plaintiff. Defendant Future Motion, Inc. is

a Delaware corporation, with its principal place of business in California. Id. at ¶ 2.

       9.     Because Plaintiff is a citizen of Florida and Defendant is not, diversity

of citizenship exists under 28 U.S.C. § 1332.

V.     The Amount In Controversy Requirement is Satisfied



                                           3
 Case 6:22-cv-00472-WWB-LHP Document 1 Filed 03/07/22 Page 4 of 6 PageID 4




      10.       The value of the Plaintiff’s alleged damages exceeds $75,000.00 based

on Plaintiff’s stipulation that this case meets the jurisdictional requirements for

removal to federal court. See Exhibit D.

      11.       Where removal of a civil action is sought on the basis of diversity

jurisdiction:

                If the case stated by the initial pleading is not removable solely
                because the amount in controversy does not exceed [$75,000]
                information relating to the amount in controversy in the record
                of the State proceeding, or in responses to discovery, shall be
                treated as an “other paper” under subsection (b)(3).
(28 U.S.C. § 1146(c)(3)(A)).
      12.       Plaintiff stipulated to an amount in controversy in excess of $75,000

meeting the jurisdictional requirements for removal to federal court on February 18,

2022 via email. Exhibit D. Additionally, Plaintiff, in his Complaint, alleges to have

sustained serious and permanent injuries including numerous broken ribs, a

punctured lung, and a torn ligament in his right shoulder that resulted in several

surgeries; mental anguish; emotional distress; economic damages; and non-

economic damages. See Exhibit A at ¶ 25. The claimed damages satisfy the amount

in controversy requirement.

      13.       For these reasons, this Court has original jurisdiction over this action

and removal is proper.

VI.   Filing of Removal Papers



                                             4
 Case 6:22-cv-00472-WWB-LHP Document 1 Filed 03/07/22 Page 5 of 6 PageID 5




      14.    Written notice of the filing of this Notice of Removal, together with a

copy of the Notice of Removal and supporting papers, is being served on Plaintiff’s

counsel contemporaneously with this filing and will be filed with the Office of the

Clerk of the United States District Court for the Middle District of Florida as

provided by 28 U.S.C. § 1446(d).

      15.    All procedural requirements for removal under §§ 28 U.S.C. 1441 and

1446 have been satisfied and this case is hereby removed pursuant to the Court’s

original jurisdiction under 28 U.S.C. § 1332.

      16.    Defendant reserves all defenses to Plaintiff’s claims. Nothing in this

Notice of Removal shall be interpreted as a waiver or relinquishment of any right to

assert any defense or affirmative matter, including but not limited to (1) lack of

jurisdiction; (2) improper venue; (3) insufficiency of process; (4) insufficiency of

service of process; (5) improper joinder of claims and/or parties; (6) failure to state

a claim; (7) failure to join an indispensable party or parties; or (8) any other pertinent

defense available.

      17.    DEFENDANT DEMANDS A TRIAL BY JURY.

DATED:       March 7, 2022




                                            5
 Case 6:22-cv-00472-WWB-LHP Document 1 Filed 03/07/22 Page 6 of 6 PageID 6




                                     /s/ Michael R. Holt
                                     MICHAEL HOLT
                                     Florida Bar No.: 483450
                                     E-mail: mholt@rumberger.com
                                     docketingmiami@rumberger.com
                                     mholtsecy@rumberger.com
                                     LIGIANETTE CORDOVA
                                     Florida Bar No.: 103271
                                     E-mail: lcordova@rumberger.com
                                     docketingmiami@rumberger.com and
                                     lcordovasecy@rumberger.com
                                     Rumberger, Kirk, & Caldwell, P.A.
                                     Brickell City Tower, Suite 3000
                                     80 Southwest 8th Street
                                     Miami, Florida 33130-3037
                                     Tel: 305.358.5577
                                     Fax: 305.371.7580

                                     Attorneys for Defendant




16370181.v1                          6
